Case 1:23-cv-01232-GBW Document 23 Filed 02/02/24 Page 1 of 2 PageID #: 1833




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

NOKIA CORPORATION and                           )
NOKIA TECHNOLOGIES OY,                          )
                                                )
                       Plaintiffs,              )
                                                )
       v.                                       )     C.A. No. 23-1232 (GBW)
                                                )
AMAZON.COM, INC. and                            )
AMAZON.COM SERVICES, LLC,                       )
                                                )
                       Defendants.              )

             STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME

       IT IS HEREBY STIPULATED by the parties, subject to the approval of the Court, that the

deadline for Plaintiffs Nokia Corporation and Nokia Technologies Oy to respond to Defendants’

Motion for Partial Dismissal Pursuant to Fed. R. Civ. P. 12(b)(6) (“Motion”) (D.I. 18) is extended

to March 15, 2024 and the deadline for Defendants to file a reply brief in support of their Motion

is April 22, 2024.

Dated: February 2, 2024                             Respectfully submitted,

FARNAN LLP                                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP

/s/ Michael J. Farnan                               /s/ Jeremy A. Tigan
Brian E. Farnan (#4089)                             Jack B. Blumenfeld (#1014)
Michael J. Farnan (#5165)                           Jeremy A. Tigan (#5239)
919 North Market Street, 12th Floor                 1201 North Market Street
Wilmington DE 19801                                 P.O. Box 1347
(302) 777-0300                                      Wilmington, DE 19899-1347
bfarnan@farnanlaw.com                               (302) 658-9200
mfarnan@farnanlaw.com                               jblumenfeld@morrisnichols.com
                                                    jtigan@morrisnichols.com
Attorneys for Plaintiffs
                                                    Attorneys for Defendants
Case 1:23-cv-01232-GBW Document 23 Filed 02/02/24 Page 2 of 2 PageID #: 1834




IT IS SO ORDERED this _____ day of January, 2024.




                                        The Honorable Gregory B. Williams




                                           2
